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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA                         :
                                                  :
                                                  :
                    v.                             :    Criminal No. 21-MJ-355
                                                   :
                                                   :
 CHRISTOPHER JOSEPH QUAGLIN,                      :
                                                   :
                      Defendant.                  :


                              GOVERNMENT’S MEMORANDUM
                           IN SUPPORT OF PRE-TRIAL DETENTION

        The United States of America, by and through its attorney, the United States Attorney for

 the District of Columbia, respectfully submits this memorandum in support of its oral motion that

 the defendant, Christopher Joseph Quaglin, be detained pending trial pursuant to 18 U.S.C. §

 3142(f)(1)(A) [Crime of Violence] and 3142(f)(1)(E) [Dangerous Weapon]. There are no

 conditions or combinations of conditions which can effectively ensure the safety of any other

 person and the community, pursuant to 18 U.S.C. § 3142(e).

        The government respectfully requests that the following points and authorities, as well as

 any other facts, arguments and authorities presented at the detention hearing, be considered in the

 Court’s determination regarding pre-trial detention.

                                        Factual Background

                         The Attack on the United States Capitol on January 6, 2021.

       1.      On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol, located at First Street Southeast, Washington, District of Columbia. During

the joint session, elected members of the United States House of Representatives and Senate met in

the United States Capitol to certify the vote count of the Electoral College for the 2020 Presidential

Election, which took place on November 3, 2020.
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       2.      The United States Capitol is secured 24 hours a day by security barriers and USCP

occupy various posts throughout the grounds. Restrictions around the United States Capitol include

permanent and temporary security barriers and posts manned by USCP. USCP officers wore

uniforms with clearly marked police patches, insignia, badges, and other law enforcement

equipment. Only authorized people with appropriate identification are allowed access inside the

United States Capitol. On January 6, 2021, the exterior plaza of the United States Capitol was also

closed to members of the public.

       3.      The January 6, 2021 joint session began at approximately 1:00 p.m. Shortly

thereafter, by approximately 1:30 p.m., the House and Senate adjourned to separate chambers to

resolve a particular objection. Vice President Michael R. Pence was present and presiding, first in

the joint session, and then in the Senate chamber.

       4.      As the proceedings continued in both the House and the Senate, and with Vice

President Pence present and presiding over the Senate, a large crowd gathered outside the United

States Capitol. As noted above, temporary and permanent barricades were in place around the

exterior of the United States Capitol building and USCP were present, attempting to keep the crowd

away from the Capitol building and the proceedings underway inside. As the certification

proceedings were underway, the exterior doors and windows of the Capitol were locked or

otherwise secured.

       5.      At approximately 2:00 p.m., certain individuals in the crowd forced their way

through, up, and over the barricades, and past officers of the USCP, and the crowd advanced to the

exterior façade of the building. The crowd was not lawfully authorized to enter or remain in the

building and, prior to entering the building, no members of the crowd submitted to security

screenings or weapons checks by the USCP or other authorized security officials.

       6.      A short time later, at approximately 2:20 p.m., members of the United States House

of Representatives and United States Senate, including the President of the Senate, Vice President

Pence, were instructed to—and did—evacuate the chambers. As such, all proceedings of the United
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States Congress, including the joint session, were effectively suspended until shortly after 8:00 p.m.

the same day. In light of the dangerous circumstances caused by the unlawful entry to the United

States Capitol, including the danger posed by individuals who had entered the United States Capitol

without any security screening or weapons check, Congressional proceedings could not resume

until after every unauthorized occupant had left the United States Capitol, and the building had

been confirmed secured. The proceedings resumed at approximately 8:00 p.m. after the building

had been secured. Vice President Pence remained in the United States Capitol from the time he

was evacuated from the Senate Chamber until the sessions resumed.

        7.       After the Capitol was breached, USCP requested assistance from MPD and other

law enforcement agencies in the area to protect the Capitol, keep more people from entering the

Capitol, and expel the crowd that was inside the Capitol. Multiple MPD officers and other law

enforcement officers came to assist.

        8.       During national news coverage of the aforementioned events, video footage which

appeared to be captured on mobile devices of persons present on the scene depicted evidence of

violations of local and federal law, including scores of individuals inside the United States Capitol

building without authority to be there.

                                 Facts Specifically Related to Quaglin

       9.        Based on an initial review of publicly available video footage, USCP surveillance

footage, and body worn camera (“BWC”) footage of officers that responded to the Capitol on

January 6, 2021, an individual wearing a red, white, and blue shirt, a black helmet with a camera

affixed to the front of it, and a gas mask, who has been identified as Quaglin, as described below,

can be seen repeatedly assaulting multiple law enforcement officers guarding the Capitol.

        10.      Specifically, around 1:36 p.m., as captured on police BWC footage, numerous

rioters were at the police line around the Capitol, with fences separating the crowd and the officers.

Quaglin approaches the police line separated by the fence and starts engaging with the MPD

Officers at the line. Seemingly unprovoked, Quaglin shouts the following statements towards the
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MPD Officers: “You don’t want this fight. You do not want this fucking fight. You are on the

wrong fucking side. You’re going to bring a fucking pistol, I’m going to bring a fucking cannon.

You wait! You wait! You wait! Stay there like a fucking sheep! This guy doesn’t know what the

fuck is going on.” Several seconds later, Quaglin grabs onto the fence and appears to shake it and

push against it while the MPD Officers are on the other side of the fence. A still from the video is

below with a red box around Quaglin and the video is attached as Exhibit A.




        11.        In addition, as captured on multiple USCP surveillance videos, around 2:06 p.m.,

numerous rioters gathered on the grounds below the Lower West Terrace and attempted to breach

the police line.

        12.        As shown in one of the USCP surveillance videos included as Exhibit B, around

2:11 p.m., Quaglin can be seen pointing at a USCP Officer holding the perimeter around the Lower

West Terrace. (For each of the video exhibits where it seemed useful, like this one, the government

has added red boxes around Quaglin where possible.) Quaglin then shoves that officer, as captured

in the still shot below. Notably, one of the individuals he is seen interacting with and who grabs

Quaglin by the shoulder to stop him after he pushes the officer, is Ethan Nordean. Nordean is one

of the Proud Boys members indicted for conspiring to obstruct Congress’s certification of the

electoral college vote.
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       13.      In a subsequent USCP surveillance footage, believed to be around 2:14 p.m. and

attached as Exhibit C, Quaglin walks through the crowd and approaches the USCP Officers located

at the police line. Quaglin then begins to verbally engage a USCP Officer. Quaglin continues to get

closer to the USCP Officer while appearing increasingly agitated and pointing his finger towards

USCP Officer. Quaglin then proceeds to hold and push the USCP Officer by the neck, which

appeared to contribute to the USCP Officer starting to fall. (Note: Due to obstructions in the view

of this portion of the event, it is unclear to the affiant whether the USCP Officer completed the

fall). A still from this video is shown below with a red arrow above Quaglin.




       14.      Approximately 1 minute later, as Quaglin appears to be yelling at the officers and

shaking a glove at them, another USCP Officer pushes Quaglin back. Then, as numerous rioters

are engaged in physical altercations with multiple law enforcement officers, Quaglin appears to
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physically strike and shove the USCP Officer. Several seconds later and as numerous law

enforcement officers are responding to the various altercations, Quaglin appears to physically push

the USCP Officer again, as captured in the still below with a red arrow pointing to Quaglin.




       15.      Quaglin then physically pushes another USCP Officer multiple times and also

pushes another USCP Officer. Several seconds later, Quaglin physically pushes an MPD officer

and, shortly after, then walks towards another USCP Officer and physically pushes and wrestles

with that USCP Officer, as captured in the still below with a red arrow above Quaglin.




       16.      In another USCP video, believed to be around 2:17 p.m. and included as Exhibit D,

Quaglin and other rioters rip one of the barrier fences being used to keep the crowd out of the

Capitol out of the hands of MPD officers, as shown in the still below with a red arrow pointing to

Quaglin.
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       17.      Then, around 2:34 p.m., as captured on BWC footage and included in Exhibit E, an

unidentified rioter pushes down a USCP officer. Another officer steps in front of the fallen officer.

Quaglin can then be seen lunging forward and pushing that officer down. Multiple officers then

drop their shields as they begin to retreat backwards. Quaglin and other unidentified individuals

can then be seen picking up the shields and passing them backwards, as captured in the stills below

with a red box around Quaglin.




       18.      As the officers continue to retreat backwards, around 2:36 p.m., Quaglin once again

can be seen on BWC footage (Exhibit F) lunging at an MPD Officer. Other rioters then pull

Quaglin back and guard the officers as the officers fall back into a stairwell, as shown in the stills

below with a red box around Quaglin.
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       19.      By 2:40 p.m. on January 6, 2021, protesters had engulfed the west side of the United

States Capitol and were climbing on the scaffolding in front of building as well as various features

of the building. Although the Capitol Building had already been breached and protesters had

flooded in through several entrances, a group of MPD officers and members of the USCP or other

agencies had been able to hold their position and deny entry through the very prominent entrance of

the Lower West Terrace, which is shown below.




       20.      Around 2:40 p.m., a group of officers were maintaining a line at the second set of

glass doors inside the tunnel. Officers reporting to the scene rushed to the tunnel from within the

building while protesters outside of the tunnel continued to summon more men to push their way

through the tunnel. A growing number of protesters made their way into the tunnel with a variety of

tools and weapons. The tunnel became the point of an intense and prolonged clash between
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protesters and law enforcement at the United States Capitol. Many of the protesters in the tunnel

were recording video and many of the videos circulated and continue to circulate on Internet

channels, social media, and the news.

        21.      Portions of the rioters’ effort in the tunnel to get through the Lower West Terrace

doors were captured both in video surveillance from a USCP camera in the tunnel and in video

footage posted to YouTube (hereinafter, YouTube Video 1). In YouTube Video 1, which is

attached as Exhibit G, a large group of rioters attempted to break through the line of uniformed law

enforcement officers who were in place to prevent rioters from entering the Lower West Terrace

door of the United States Capitol. Law enforcement officers are at the front of the line attempting

to stop numerus rioters from gaining access to the United States Capitol Building.

        22.      At approximately 3:03 p.m., Quaglin can first be seen on USCP surveillance footage

entering the tunnel with the rioters. Quaglin can be seen pushing his way to the front of a large

crowd attempting to push past the police guarding the doors. Quaglin continues to try to push past

the law enforcement officers guarding the Lower West Terrace Exterior Doors for approximately

the next 15 minutes during which he can be seen on video attacking officers with a stolen riot

shield and spraying them with a chemical irritant. (Beginning around 13 minutes into the video,

when Quaglin is clearly visible in the video, the government has added a red box around Quaglin

where possible in Exhibit G.)

        23.      Specifically, as captured both on BWC footage and in YouTube Video 1, Quaglin

sprays a chemical irritant at MPD and USCP officers trying to stop the rioters from entering the

Capitol. Specifically, around 3:06 p.m., Quaglin is visible at the front line of the rioters attempting

to get past the law enforcement officers guarding the Lower West Terrace doors, as shown in the

still from BWC footage below with a red box around Quaglin.
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       24.     Around 15:30 in YouTube Video 1, which corresponds to approximately 3:06 p.m. 1,

Quaglin sprays a chemical irritant at MPD and USCP officers trying to stop the rioters from

entering the Capitol. At around 15:46 in YouTube Video 1, which corresponds to approximately

just before 3:07 p.m., Quaglin then again sprays a chemical irritant directly into the face of an MPD

Officer, who does not have a face shield or gas mask protecting him. This is captured in the still

below, where (as indicated by the added red square) the orange spray from the black canister can be

seen headed straight for the officer’s face.




1
 This time is approximate and based on a review of the EXIF data for the related video and a
comparison to the timestamp for available surveillance video capturing the same events.
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       25.      Based on the lettering on the canister, the shape, and the coloring of the canister, the

canister used by Quaglin (which is visible in the still shots below from BWC footage) appears likely

to be an MK-9 OC spray sold online.




        26.     MK-9 OC spray, pictured below, is described in online marketing materials as

follows: when used according to proper guidelines, the product is “intended to cause varying

degrees of pain and injury, which are temporary.” If “used incorrectly, CTS less-lethal products

may cause damage to property, serious bodily injury or death.”

https://www.combinedsystems.com/product/mk-9-level-3-oc-products.
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        27.    Around 3:08 p.m., as captured in YouTube Video 1, rioters inside the tunnel use

police riot shields and police riot batons to combat uniformed law enforcement officers. Rioters can

also be overheard planning and implementing a rotation of rioters to have the “fresh” rioters up

front to combat law enforcement, with various unidentified individuals yelling “we need fresh

patriots in the front” and “we need fresh people.” Rioters are heard instructing the front line of

rioters to make a “shield wall” to prevent law enforcement from controlling rioters with oleoresin

capsicum spray (“O.C. spray”). Multiple rioters then use the stolen shields to push against the line

of officers as additional rioters add their weight and push too. Around 19:30 in YouTube Video 1,

which corresponds to approximately 3:11 p.m., Quaglin can be seen with the rioters at the front of

the line pushing up against that same MPD Officer whom Quaglin sprayed in the face and other

law enforcement officers with a shield. Quaglin then continues pushing as the entire group of

rioters yell “heave ho” and put their collective mass behind him and the others at the front of the

line.

        28.    Another YouTube Video shot within the tunnel around the same time (“YouTube

Video 2”), attached as Exhibit H, shows a different angle of that confrontation, where Quaglin can

be seen using a stolen shield to push up against law enforcement officers and then hitting that same

MPD Officer in the side of the neck and face, as Quaglin and other rioters twist the shield to the

side.
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           29.   As other rioters from the front-line leave, Quaglin remains near the front line. For

example, he is captured on BWC footage around 3:15 p.m. at the front-line of the rioters and still

holding a shield, as shown in the still below. He remains at the front until approximately 3:18 p.m.

-- when he can be seen on USCP surveillance footage being pushed out of the tunnel with other

rioters.
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                                     Identification of Quaglin

       30.     Law enforcement received a tip from an anonymous source providing four “Live”

videos recorded from a Facebook account with the vanity name “Chris Trump.” The videos did not

list the URL of the Facebook account or the official user name. (A Facebook user can display a

vanity name that is different than their official user name and a Facebook user can change their

vanity name without changing the official user name.) Each video was a selfie-style video showing

an individual identified by the anonymous tipster as “Christopher Quaglin, NJ. Extremist.” In one

of the Live videos provided by the tipster, Quaglin, as shown in the still below, can be seen walking

towards the Capitol in the same outfit that Quaglin is seen wearing in the footage described above

and holding a gas mask. Quaglin states “Trump is speaking and everyone is walking there. And I

am walking there [showing Capitol building to camera]. And I am ready [showing gas mask in

hand]. We will see how it goes. Proud of your boy.” (The video is attached as Exhibit H.)
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       31.     In another one of the videos, shot after Quaglin had returned to his hotel and

changed out of the red, white and blue hoodie, Quaglin notes: “When you guys see the footage, I

was the guy in the red, white, and blue uhh hoodie and the black helmet…I’m absolutely on a loop

on Fox News…I got punched pretty good…It was a great time, I got bumps and bruises.” In that

video Quaglin appears to be standing in the alleyway immediately adjacent to the Motto Hotel at

627 H Street NW, Washington, D.C. in the evening hours after the riot on January 6, 2021. A

distinctive parking sign and a pipe that forms a right angle are visible in the video frame. Law

enforcement visited the alleyway and confirmed that the area visible in Quaglin’s video was in fact

taken in that alleyway adjacent to the Motto Hotel. (This video is attached as Exhibit I.)

       32.     In another video taken in his hotel room, Quaglin appears shirtless with a large

tattoo visible on his chest and on his arm as he narrates while cooking a steak in his shower.

Quaglin states, “It’s the first step . . . I’m exhausted, I’ve been pepper sprayed like twenty fucking

times, I’m sure I’m going to make the news.” (This video is attached as Exhibit J.)

       33.     Law enforcement confirmed that Quaglin (whose listed address is in New Jersey)

rented six rooms at the Motto Hotel in Washington D.C. between January 5, 2021 and January 7,

2021 which appears to be the same hotel that can be seen in some of the Live videos provided by

the tipster and the same alleyway as confirmed by law enforcement.

       34.     In addition, law enforcement interviewed a witness, Witness 1, who has known

Quaglin for years, although Witness 1 had not seen him in person for several years. Witness 1 has
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followed and corresponded with Quaglin on social media for years. Witness 1 saw Quaglin’s Live

videos on January 6, 2021 on his account with the vanity name “Chris Trump.” Witness 1

confirmed that the Live videos described above are some of the same videos Witness 1 saw on

January 6, 2021 and that those videos all show Quaglin.                 Witness 1 also stated that he/she saw a

photograph that the FBI had published seeking additional information from the public and that he

recognized that individual as Quaglin. (The photograph, “Photograph 58 AFO” below, was taken

from BWC footage described in paragraph 10 above.) 2




         35.      Witness 1 noted that Quaglin used multiple accounts on Facebook and Instagram

and was frequently been banned for inflammatory posts online. Witness 1 indicated that Quaglin

frequently posted on his social media accounts about the 2020 Presidential election, about going to

the Capitol on January 6, 2021, and pictures of firearms. Many of Quaglin’s posts were deleted on

January 7, 2021. Witness 1 indicated that Quaglin posted multiple pictures of himself prior to the

January 6, 2021 events where he was visible with a beard and consistent in appearance with the

“Photograph 58-AFO.”

         36.      Law enforcement submitted search warrants for multiple social media accounts

identified as belonging to Quaglin by Witness 1 or based on a review of subscriber data. Based on


2
  Law enforcement also received five tips indicating that Photograph 58 looked like various individuals that are not
Quaglin. Thus far, law enforcement is not aware of any corroboration for these tips and is not aware of any evidence
linking those individuals to the Capitol on January 6, 2021. One anonymous tip did identify another individual in a
YouTube video at the protests on January 6, 2021 (but not taking part in the siege of the Capitol building) in what
appears to be the same “Make America Great Again” hoodie as the one Quaglin is wearing on January 6,
2021. However, that individual has no facial hair, has no gas mask, has no helmet with a video camera attached to it, is
carrying a large flag on a fishing pole, and has a large button pinned to his hoodie that is not visible in any of the video
associated with Quaglin.
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an initial review of the comments, photos, and videos posted to Quaglin’s social media accounts,

there are many posts indicating he participated in the storming of the Capitol on January 6, 2021, as

described above. For example:

o The following post on November 5, 2020: “You upset? Think it's off? Voter fraud? Antifa says

   fuck you and they stole the election. You americans aren't welcome here anymore.

   #IMFIGHTINGBACK If you like, share it!!!!! We need people!!!!”

o The following messages sent on November 5, 2020 to another person on Facebook: “I'm going

   to war”; “I'm writing my letter to my wife and people will have it. But I might not even make it

   back”; “I'm bringing the big cock”; “I'm taking jin to a knife fight”; “I'm really ready to just the

   kamikaze.”;

o The following messages sent on November 6, 2020 to another person on Facebook: “Its over”;

   “I'm fighting if not”; “Like on the streets in dc. Full body armor.”;

o The following messages sent on November 6, 2020 to another person on Facebook: “Looking

   forward to a war”;

o The following attempted post on November 6, 2020: “Stand back. Stand by. Trump might walk

   away losing the presidential election in 2020 due to fraudulent voting. (I highly doubt that, but

   it might happen). The only way he walks away from the presidency, without being taken away

   in handcuffs and not completely sparking a civil fucking war is as follows: VOTER. ID. LAW.

   has to be passed by all 3 branches, and the house and Senate. It will be a unanimous vote. If

   trump steps down, this must happen. Otherwise, #letshaveawar”;

o The following messages sent on December 13, 2020 to another person on Facebook who

   claimed to be in D.C.: “Good! Fuck u btw. If I would have known u were going I would have

   given u a gas mask and my helmet”;

o The following photo posted on December 13, 2020:
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o The following post on December 17, 2020 “Because I know something you don't know.”

    Accompanied by the following photo:




o The following messages sent on December 20, 2020 to other people on Facebook: “Listen.

    Come to DC. Don't be a bitch”; “U coming to DC on the 6th?” Similar messages were sent to

    others as well on December 20, 2020. 3

o The following post on December 20, 2020 “Guy: you think you're the only one prepared? I got

    a p100 too! Me: that doesn't help against pepper spray dude. A p100 is not a gas mask.”




3
 In one of those messages asking someone to join him on the 6th, Quaglin stated: “I need 5 good men to hold each
other's back, not back out or run if antifa attacks. Are you coming to dc?” However, in a later message, asking
someone to join his group going to D.C., he stated: “I don't think antifa will even how up.” “Its the cops if it gets ugly.”
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o The following photo and message sent on December 22, 2020 to another person on Facebook

   “Thats my basement gun room. I have been planning for this since fucking Bush left office and

   obama came in”




o The following post on December 22, 2020: “Who wants to go to dc? I have an extra double

   twin bed available”

o The following messages sent on December 22, 2020 to another person on Facebook: “Oh, its

   happening. I'm bringing gas masks, body armor, and other things”

o The following messages sent on December 22, 2020 to another person on Facebook: “I got 3

   cans of bear spray” “Huge cans”; “And fas masks”; “Gas”;

o The following messages sent on December 23, 2021 to another person on Facebook: “I got like

   9 rooms. If u need one ill transfer 1 to u”;“I figured ill save them for our crew first. Stay close.

   Stay safe”; “If u need a ride down, we have space. You'll be in the back back seat of the

   suburban though”; “Merry Christmas. We can talk after new years. Our group will be carrying
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   huge bear mace cans. Fyi” … “U know like 1000 militia are gonna be there”; “Ar15, the whole

   get up”; “I don't think antifa will even how up”; “Its the cops if it gets ugly”; “Buy a gas mask

   if anything”; “You'll get it from ebay by time”; “Not p100!”; “Just make sure the filter is good

   for pepper spray”;

o The following post on December 24, 2020 with the caption “so bad ass”




o The following messages sent on December 24, 2020 to another person on Facebook: “Ya, I was

   thinking of that. Ill have bear spray. (The gel stuff that shoots 30 feet) and the big can”

o The following message sent on December 25, 2020 to another person on Facebook: “Ya. I'm

   bringing gas masks” followed by this photo:
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o Multiple messages to others on Facebook regarding reserving rooms and rates, such as the

   following message sent on December 30, 2020 to another person on Facebook: “Are u going to

   dc? I got 1 spare bilunk bed room” and then sending this photo




o The following messages sent on January 7, 2021 to another person on Facebook: “It was wild”;

   “A guy died in my arms”;

o The following messages sent on January 7, 2021 to another person on Facebook: “I was in the

   middle of it” and attaching a photograph that appears to be taken from the West Terrace of the

   Capitol of the crowd on January 6, 2021;

o A message sent on January 7, 2021 indicating that he had deleted his other account and telling

   the other person to use “whats app or telegram”;

o Another message on January 7, 2021 responding to a question about how he made out last

   night, stating “It was crazy” and “Text me on what's up app or telegram”; and

o A message sent on January 8, 2021 claiming “We only pushed our way. I know I didn't hit any

   cops.”
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        37.      Finally, law enforcement submitted a search warrant for the Google accounts linked

to Quaglin through his known Facebook accounts. Google location data places the phone belonging

to Quaglin in and around Washington, D.C. from January 5-7; specifically, at the Motto Hotel, at the

Washington Monument, and at the United States Capitol. On January 5, 2021, Quaglin conducted

multiple searches for “Motto by Hilton Washington DC City Center” and pulled up driving

directions for two Chick-fil-A restaurants in Northeast Washington, D.C. On January 6, 2021

Quaglin conducted multiple Google Maps queries for areas near the National Mall in Washington,

D.C.

        38.      Quaglin’s Google account history shows multiple Google searches indicating his

involvement in the storming of the Capitol. For example, on January 8, 2021, it includes multiple

searches for “guy gets bear sprayed at capital.” On January 20, 2021 Quaglin’s Google account

history shows visits to a webpage titled, “Countries where you can buy citizenship, residency, or

passport.” Quaglin’s Google account history shows eight visits to the FBI’s “seeking information”

for Capitol violence between January 28, 2021 and January 31, 2021. Further, a review of

Quaglin’s Gmail accounts show multiple purchase notifications from a Costco credit card in

Washington, D.C. -- specifically, multiple charges at the Motto Hotel on January 5, 2021, multiple

charges at a Walgreens convenience store at 801 7th St NW, Washington, D.C. on January 6, 2021,

and $128.80 spent at China Town Liquor in Washington, D.C. on January 7, 2021 – both businesses

that are a short walking distance from the Motto Hotel.

                 Additional Evidence Relating to Quaglin’s Connection to the Proud Boys

        39.      In addition to the comment he makes (“Proud of your boy”) in a video on the 6th,

described in paragraph 30 above, and his interactions with Nordean on camera, which are described

in paragraph 12 above, there is also additional evidence of Quaglin’s membership in the Proud

Boys.

        40.      First, law enforcement interviewed a witness that has known Quaglin personally for

years and followed him on social media, Witness 2. Witness 2 stated that a few months before the
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national election, Quaglin informed Witness 2 that Quaglin was thinking of joining the Proud Boy

and met with members of the Proud Boys in New York. (Witness 2 also confirmed that Quaglin

travelled to Washington D.C. on January 6, 2021, booked several rooms there, and deleted his

Facebook account afterwards. Witness 2 recalled video posts on Quaglin’s account near the White

House on the South Lawn, but not any involving the Capitol.)

       41.       Second, Quaglin’s social media accounts included additional comments indicating

both his membership in the Proud Boys and his efforts to coordinate activity on January 6, 2021.

(Many of the same comments indicated his planning for violence on January 6, 2021.) For example:

             •   On November 3, 2021, above a photo of a story about the Proud Boys, he posted

                 “Proud to be one.”;

             •   On November 6, 2020, he posted about Trump possibly losing the election and

                 began the post with the words: “Stand back. Stand by.”    After discussing the need

                 for a voter ID law, the post ended with the words “Otherwise, #letshaveawar.”;

             •   On December 22, 2020, after someone sent him a message saying “And I want to

                 join The proud boys,” he replied: “In time . They are working out a woman's

                 group.”;

             •   On December 24, 2020, he sent a message stating “The militia is going FULL

                 FUCKING GEAR” “Pro trump”.; and

             •   On December 26, 2020, in connection with a discussion about the knife laws in

                 Washington D.C. and what armor and weapons he was planning on bringing with

                 him on January 6, 2021, Quaglin also posted “Bigger the group the better. And we

                 aren't repping any proud boy colors fyi. Keeping it as invisible as we can.”

       42.       Quaglin’s social media account also included additional comments indicating his

membership in some other similar group and his past acts of violence for his ideological beliefs.

Specifically:
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              •   On November 6, 20201, as part of a conversation about what was going on in

                  Georgia related to the election and what should be done, Quaglin noted “I've been

                  doing shit for weeks”; “I literally punched antifa on camera for weeks. I fucking did

                  way more then that”; “I will fucking kill you in your sleep. Understand that I have a

                  mindset that will best you.”; “It's not a threat.”

              •   After the person he is talking to replied: “Wtf are u talking about u do know ur not

                  talking to a biden supporter,” Quaglin replied: “Once u want to get into my group,

                  we are in” “I could use your engineering”; “I have been beginning a group for 2

                  years”; “Proud boys dont even know about it.”

                                            Procedural History

        43.       On April 6, 2021, U.S. Magistrate Judge Zia Faruqui issued a warrant to arrest the

defendant on violations of 18 U.S.C. § 231(a)(3) (Certain Acts During Civil Disorder), 18 U.S.C. §

111(b) (Assaulting, Resisting, or Impeding Certain Officers or Employees While Using a Deadly or

Dangerous Weapon), and 18 U.S.C. § 1512(c)(2)(Obstruction of an Official Proceeding) stemming

from the defendant’s involvement in the insurrection at the United States Capitol on January 6,

2021.

        44.       On April 7, 2021, FBI agents arrested the defendant at his residence in North

Brunswick, New Jersey and brought him before a U.S. Magistrate Judge in the District of New

Jersey for an initial appearance and removal to this District. At that hearing that afternoon, the

government asked the Court to detain the defendant without bail pending removal and trial in this

district. U.S. Magistrate Judge Quraishi denied this detention motion and released the defendant.

The government sought a stay of the Magistrate Judge’s decision to release the defendant and a

hearing to review the decision to release the Defendant.
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                                    ARGUMENT

        45.         There are four factors under § 3142(g) that the Court should consider and weigh in

determining whether to detain a defendant pending trial: (1) the nature and circumstances of the

offense charged; (2) the weight of the evidence against the defendant; (3) his history and

characteristics; and (4) the nature and seriousness of the danger to any person or the community that

would be posed by his release. See 18 U.S.C. §3142(g). In consideration of these factors, the

government respectfully submits that there are no conditions or combinations of conditions which

can effectively ensure the safety of any other person and the community. In addition, the analysis

emphasized by the D.C. Circuit recently in United States v. Munchel, No. 21-3010, 2021 WL

1149196 (D.C. Cir. Mar. 26, 2021), supports the conclusion that detention is appropriate here.

                           Nature and Circumstances of the Offenses Charged

        46.         During the course of the violent siege of the U.S. Capitol on January 6, 2021, over

100 law enforcement officers reported being assaulted or injured by the violent mob while

attempting to protect the U.S. Capitol and the individuals inside of the building. These assaults

occurred both inside of the Capitol, as well as on the steps outside of the Capitol and the grounds of

the Capitol, where the enormous mob included numerous individuals with weapons, bulletproof

vests, and pepper spray who were targeting the officers protecting the Capitol. Additionally, the

violent crowd encouraged others in the crowd to work together to overwhelm law enforcement and

gain unlawful entry into the U.S. Capitol.

        47.         What is extremely troubling about the defendant’s role in this attack is the planning

and group coordination involved, the way he armed himself in advance, the repeated nature of his

attacks, the length of time he was engaged in fighting law enforcement, and the escalation of his

violent assaults.



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       48.    First, the Defendant did not just come to Washington D.C. on a whim and get

caught up in the fervor of the mob. The Defendant planned to come on that day and, to use his

words, engage in a “war.” Even without access to the social media account he deleted after January

6, which is presumably the “Chris Trump” account from which he posted the videos viewed but

Witness 1, the social media evidence available shows months of Quaglin planning to come to

Washington D.C. and engage in violence. For instance, as early as November 5, 2020, the

defendant seemed to be contemplating actions in a self-proclaimed “war” that were so extreme he

might not survive, noting that he was “writing my letter to my wife” and “might not even make it

back.” Over the next two months, he reserved additional hotel rooms for others and repeatedly

reached out to others asking if they would come.

       49.      Second, the Defendant planned to engage in violence, noting that he bought three

huge cans of bear spray and a gas mask. He then came to Washington D.C. and while, to use his

words, “everyone” was walking to hear Trump speak, he headed directly to the Capitol with a

helmet and gas mask in hand (and presumably the huge can of bear spray he later used on the

police). He intended to engage in violence at the Capitol, armed himself for it, and then headed

there before the rest of the crowd.

       50.      Third, over and over again, he threatened and attacked law enforcement officers

guarding the Capitol on January 6, 2021. First, at 1:36 p.m., threatening the law enforcement

officers guarding the Capitol and explaining that they would bring a pistol and he was “going to

bring a fucking cannon.” Then shoving an officer at 2:11 p.m., pushing an officer by the neck

around 2:14 p.m., striking another officer at 2:15 p.m., then pushing three more, and then ripping

the barrier away from the police at 2:17 p.m. Second, around 2:34 p.m., as law enforcement officers

were all retreating as the crowd pushed forward, he repeatedly lunged at officers backing away and

then passed around the shields they dropped during the retreat. Finally, after law enforcement was

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finally left guarding the Lower West Terrace doors to the Capitol, Quaglin joined a violent group of

rioters repeatedly attacking the officers as they tried to push into the building. Quaglin was

involved in that attack from around 3:03 p.m. to 3:18 p.m., when law enforcement finally

successfully pushed the rioters out of the tunnel. He repeatedly sprayed law enforcement with the

canister of O.C. spray he brought with him – including aiming directly into the face of an officer

with no face guard as he was very close to Quaglin. Quaglin also helped violently fight the officers

with stolen riot shields, even hitting the same officer he had sprayed in the face in the neck with a

shield.

          51.   As the Munchel panel noted, “those who actually assaulted police officers . . . are in

a different category of dangerousness than those who cheered on the violence or entered the Capitol

after others cleared the way.” Munchel, 2021 WL 1149196, at *8. Here, Quaglin did not just assault

one officer, he assaulted many. He used both his body and also the “huge” can of “bear mace” he

bought in advance and carried over state lines specifically for this purpose. Quaglin came prepared

to withstand law enforcement efforts to stop his illegal actions – wearing a helmet and a gas mask

he researched in order to make sure it would withstand pepper spray. He completed these assaults

on multiple officers, despite the fact that he was in an extremely public setting, around people

filming his behavior, and in the presence of many additional different law enforcement officers.

Finally, he planned these actions for months and recruited others to join him, even renting six other

hotel rooms for others. With all of these factors taken into consideration, the nature and

circumstances of these offenses overwhelmingly weigh in favor of detention.

                          Weight of the Evidence Against the Defendant


          52.   The second factor to be considered, the weight of the evidence, also clearly weighs in

favor of detention. The evidence against the defendant is also quite strong and compelling. As

noted above, the defendant was observed on U.S. Capitol surveillance cameras, social media videos
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(much posted by himself), and media footage attacking law enforcement officers and attempting to

unlawfully enter the U.S. Capitol. A witness that has known him for years identified him in some of

those videos. Additionally, social media evidence captures the defendant admitting that he

purchased a gas mask and bear mace in advance of the attack as part of his plans for January 6,

2021. The evidence against this defendant is overwhelmingly strong, and accordingly, the weight of

the evidence weighs heavily in favor of detention.

                              Defendant’s History and Characteristics

       53.      The government recognizes that the defendant has no prior convictions and limited

prior contacts with law enforcement. All of which weighs in favor of release. In addition, his

steady housing and community connections weigh in favor of release. However, the defendant’s

actions, as demonstrated by his apparent willingness to repeatedly engage in assaultive behavior,

while armed, as part of a violent mob attacking law enforcement officers, should give this Court

great concern about the danger he would pose to the community, if released.

       54.      Moreover, some of the other characteristics about the Defendant weigh in favor of

detention. For example, after his participation on the attack on the Capitol was over, he showed no

remorse or concern about the violence he committed. Rather, Quaglin boasted about the prominent

role he played, noting that he was on a “loop” on the news and adding that this was the “first step.”

       55.      Similarly, the depth of his beliefs, and the fact that he seemed willing to become a

martyr, is particularly concerning. As mentioned above, his social media account shows that on

November 5, 2020 he sent the following to another person on Facebook: “I'm going to war”; “I'm

writing my letter to my wife and people will have it. But I might not even make it back”; “I'm

bringing the big cock”; “I'm taking jin to a knife fight”; “I'm really ready to just the kamikaze.”

Quaglin was preparing for the possibility that he would not survive the next steps. Such fervor, and



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the willingness to lose his life in order to go to “war” demonstrates that he poses a clear danger to

the community.

       56.       In addition, Quaglin is a self-proclaimed member of the Proud Boys, an extremist

group whose members have been indicted for conspiring to obstruct Congress’s certification of the

Electoral College vote on January 6, 2021. Indeed, Nordean, one of the indicted members of the

group, can be seen interacting with Quaglin moments after Quaglin pushes an officer guarding the

Capitol around 2:11 p.m. Whether in connection with that group, with another group he claimed to

have been a part of for years, or by himself, Quaglin has also indicated that he has engaged in

violence like this before in the name of his ideological beliefs. Specifically, on November 6, 20201,

as part of a conversation about what was going on in Georgia related to the election and what should

be done, Quaglin noted: “I've been doing shit for weeks”; “I literally punched antifa on camera for

weeks. I fucking did way more then that.”

       57.       Finally, Quaglin has since tried to destroy evidence of the crimes he committed on

January 6, 2021. For example, as he explained in a conversation online with another person on

January 7, 2021, he deleted his other Facebook account, which would presumably be the “Chris

Trump” account he posted videos on from January 6, 2021.

                                 Danger to the Community and Flight Risk


       58.       The fourth factor, the nature and seriousness of the danger to any person or the

community posed by a defendant’s release, also weighs in favor of the defendant’s detention. The

charged offenses involve violent assaultive conduct, and the assaults became more violent and

dangerous when the defendant armed himself with a shield and bear spray. He armed himself and

assaulted law enforcement with the intent to unlawfully enter the U.S. Capitol and stop the

functioning of our government as it met to certify election results. The danger the defendant caused


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by assisting the violent mob cannot be understated. The defendant was a spoke in the wheel that

caused the historic events of January 6, 2021, and he is thus a danger to our society and a threat to

the peaceful functioning of our community.

       59.      Quaglin’s dangerousness is not limited to his past actions, but presents a future threat.

It is difficult to fathom a more serious danger to the community—to the District of Columbia, to the

country, or to the fabric of American Democracy—than the one posed by someone who knowingly

and eagerly engaged in a violent insurrection to occupy the United States Capitol and abort the

certification of a lawful and fair election. Every person who was present without authority in the

Capitol on January 6 contributed to the chaos of that day and the danger posed to law enforcement,

the United States Vice President, Members of Congress, and the peaceful transfer of power. However,

Quaglin’s specific conduct severely aggravated that chaos and danger.

       60.      The defendant’s highly public assaults of officers at the Capitol Building, his use of

bear mace he bought in advance of the riot, and the way he armed himself in advance with a gas mask

and helmet, all illustrate his danger to the community. The United States submits that the defendant’s

lack of respect for the rule of law and his unwillingness to abide by lawful government orders goes

directly to his future dangerousness. The D.C. Circuit has recognized that a “Court’s finding as to [a

defendant’s] potential compliance is relevant to the ultimate determination of ‘whether there are

conditions of release that will reasonably assure ... the safety of any other person and the community.’”

Munchel, 2021 WL 1149196, at *5; see also United States v. Hir, 517 F.3d 1081, 1092-93 (9th Cir.

2008) (explaining that release conditions require “good faith compliance” and that the circumstances

of the charged offenses indicate “that there is an unacceptably high risk that [the defendant] would

not comply...with the proposed conditions”); United States v. Tortora, 922 F.2d 880, 886–90 (1st Cir.

1990). The defendant’s actions established that his own personal beliefs override the rule of law and

that he will readily resort to violence to halt the legitimate functions of the United States government
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with which he disagrees. Such blatant disregard of the law and the valid authority of our government

weigh in favor of detention. If Quaglin is unwilling to obey orders or to conform his behavior to the

law while in full view of many law enforcement officers and a host of cameras, it is unlikely that he

would adhere to this Court’s directions and release orders, thereby demonstrating his continued

dangerousness.

       61.       The fact that the unique circumstances that arose on January 6, 2021, are unlikely to

arise in precisely the same context a second time does not minimize his future dangerousness. In

contrast to the defendants in Munchel, Quaglin’s pre-planned choice to use violence as a means to his

ends, and his physical attack on officers protecting the Capitol and the people inside it, prove that he

poses a threat regardless of the unique circumstances of January 6, 2021. His willingness to arm

himself and access to weapons generally, connection to the Proud Boys, efforts to organize and recruit

other to participate on January 6, 2021, boasting over his violent actions afterwards, efforts to delete

evidence, willingness to become a martyr, and claims of having committed violence in the name of

his ideological beliefs in a public manner previously, all add the danger he poses to the community if

released.




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                              CONCLUSION

       WHEREFORE, the United States respectfully requests that the Court grant the

government’s motion to detain the defendant pending trial.


                                           Respectfully submitted,

                                           CHANNING D. PHILLIPS
                                           Acting United States Attorney
                                           D.C. Bar No. 415




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